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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION


IBALDO ARENCIBIA,

         Plaintiff,                                   Case No.: 4:20-cv-00819-O

vs.

AGA SERVICE COMPANY d/b/a
ALLIANZ GLOBAL ASSISTANCE,
AMERICAN AIRLINES, INC., and
JEFFERSON INSURANCE COMPANY,

         Defendants.

                                                /


                                     NOTICE OF APPEARANCE

         Please take notice that Roger Mandel, Esquire of the law firm of Jeeves Mandel Law Group

appears in this case as Local Counsel for the Plaintiff, IBALDO ARENCIBIA, and requests that

all    future pleadings,    orders    and   correspondence be directed    to   his   attention   at

rmandel@jeevesmandellawgroup.com, 2833 Crockett Street, Suite 135, Fort Worth, Texas 76107;

phone (214)253-8300; fax number (727)822-1499.

         Dated: October 12, 2020               Respectfully Submitted.



                                               /s/Roger L. Mandel_____________________
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                                              Local Counsel for Plaintiff


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY on this 12th day of October, 2020, I electronically filed the

foregoing with the Clerk of Court by using the Court’s CM/ECF system that will send a notice of

electronic filing to all counsel of record.




                                              /s/ Roger L. Mandel________________
                                              Roger L. Mandel
